             Case: 1:24-cv-06039 Document #: 124 Filed: 07/15/25 Page 1 of 3 PageID #:2561
Please ﬁnd attached, my approval in SSA employee identity theft protection program and
acknowledgement of my ADA Reasonable Accommodation request attached.

I've never created any erroneous reports, nor social media accounts.

I've been a victim of Retaliation and Reprisal.

Thank you in advance,

*Mellody Estella Maria Huntley messages sent from Samsung Galaxy smartphone with Xﬁnity mobile, (630) 812-9062,
effective 11/2018.*

-------- Original message --------
From: "Huntley, Mellody" <Mellody.Huntley@ssa.gov>
Date: 8/12/19 9:18 AM (GMT-06:00)
To: #CH IL OHO Oak Brook Managers <CH.IL.OHO.Oak.Brook.Managers@ssa.gov>, ^DCHR OPE CADS
Inquiries <DCHR.OPE.CADS.Inquiries@ssa.gov>
Cc: "Senden, Gregory" <Gregory.Senden@ssa.gov>, "Joseph, Agatha" <Agatha.Joseph@ssa.gov>,
"Bellamy-Bonner, Cheryl" <Cheryl.Bellamy-Bonner@ssa.gov>, "Cavanagh, Frank"
<Frank.Cavanagh@ssa.gov>, "Foster, Monwella" <Monwella.Foster@ssa.gov>, "Ovcina, Almir"
<Almir.Ovcina@ssa.gov>, "Bell, Tenise" <Tenise.Bell@ssa.gov>, "Daniel, Kimberly"
<Kimberly.Daniel@ssa.gov>
Subject: FW: Identity Protection Program


Please be advised,



I(we) will be moving to a safer apartment September 2019, please safeguard my new address;
telephone number; and email addresses.



Thank you in advance,



Mellody Huntley X13861
Certiﬁed Legal Assistant

HCSR, HIRED 07/07

SSA/OHO - X08 Oak Brook, IL



cid:image001
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From: Huntley, Mellody
Sent: Monday, August 12, 2019 9:15 AM
To: Terry, Brent <Brent.Terry@ssa.gov>
Cc: Gruzalski, Justin <Justin.Gruzalski@ssa.gov>; George, Leslie J. OHE <Leslie.J.George@ssa.gov>;
Barncord, Troy <Troy.Barncord@ssa.gov>; Meekins, Sue Executive Oﬃcer <Sue.Meekins@ssa.gov>;
Ovcina, Almir <Almir.Ovcina@ssa.gov>
Subject: RE: Identity Protection Program



Dear Mr. Terry,



I thank you in advance and greatly appreciate the approval.

Mellody Huntley X13861
Certiﬁed Legal Assistant

HCSR, HIRED 07/07

SSA/OHO - X08 Oak Brook, IL



cid:image001




From: Terry, Brent <Brent.Terry@ssa.gov>
Sent: Monday, August 12, 2019 9:12 AM
To: Huntley, Mellody <Mellody.Huntley@ssa.gov>
Cc: Gruzalski, Justin <Justin.Gruzalski@ssa.gov>; George, Leslie J. OHE <Leslie.J.George@ssa.gov>;
Barncord, Troy <Troy.Barncord@ssa.gov>; Meekins, Sue Executive Oﬃcer <Sue.Meekins@ssa.gov>;
Ovcina, Almir <Almir.Ovcina@ssa.gov>
Subject: Identity Protection Program
Importance: High



Dear Mellody Huntley:

The Identity Protection Program (IPP) helps preserve the anonymity and protect the physical
well-being of SSA employees who have demonstrated a reasonable belief that disclosure of
their work telephone number and location would add to their risk of injury or harm. On
8/3/2019, we received your request to participate in the IPP. Your request met the guidelines in
accordance with Chapter S293-2 of the Personnel Policy Manual for participation in the
program and has been approved. Accordingly, your work location and telephone number will
be removed from the Global Address List accessed through Outlook. You should discuss with
your manager any action needed to remove your contact information from other telephone
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directories. When your participation in the program is no longer required, you must submit a
written request to your supervisor requesting removal from the IPP.

Please remember, this is not a failsafe program. In addition to participating in the IPP, you
should continue to take all reasonable steps to ensure your own safety.

Questions about this email should be directed to the Nationwide Identity Protection Program
Coordinator by calling 410-965-1009 or email at ^DCHR OPE CES EAP.

Brent D. Terry

Nationwide Identity Protection Program Coordinator
